           Case 2:24-cr-00091-ODW        Document 165 Filed 11/08/24          Page 1 of 2 Page ID
                                                 #:2037
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTES – GENERAL
 Case No.         2:24-cr-00091-ODW                                    Date     November 8, 2024
 Title            United States of America v. Alexander Smirnov



 Present: The Honorable           Otis D. Wright, II, United States District Judge
                 Sheila English                             Not reported                     N/A
                  Deputy Clerk                      Court Reporter / Recorder              Tape No.
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                      Not present                                          Not present
 Proceedings:                                  In Chambers

       On October 19, 2024, Defendant Alexander Smirnov filed a motion to compel production
of discovery. (Mot. Compel (“Motion” or “Mot.”), ECF No. 139.) The United States filed an
opposition, and Defendant submitted a reply in support of the Motion. (Opp’n, ECF No. 141;
Reply ISO Mot. (“Reply”), ECF No. 145.)

       Defendant fails to clearly articulate to the Court what discovery he is seeking to compel.
Instead, Defendant reprints a letter he sent to the United States, without providing the Court
additional detail or context. (Mot. 4–6.) For example, Defendant states the following:

         “I. March 5 letter (no discovery in response to request by paragraph)

                 ¶7 [No discovery.]”

(Id. at 5.) Additionally, Defendant provides a general discussion of the law, but fails to explain
why the law supports his specific discovery requests. (See Mot.) Defendant bears the burden to
identify to the Court what discovery he is seeking and argue why the law supports his request.
The Court will not dig through the record and Defendant’s past correspondence with the United
States to decipher what discovery Defendant is requesting. (See Mot. Exs. 1–5 (correspondence
between Defendant and the United States). Even Defendant’s Reply would require the Court to
sift through past correspondence to deduce what discovery Defendant is requesting. (Reply.) It
also fails to provide a legal basis for the requests. (See id.)



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     At bottom, the Court refuses to guess at what discovery Defendant seeks and develop
arguments on his behalf. Accordingly, the Court DENIES Defendant’s Motion to Compel.
(ECF No. 139.)

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                                                Initials of Preparer   SE




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